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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                             CASE NUMBER: ____________________

 THELMARA MARKHAM,

                Plaintiff,

 vs.

 FLORIDA COMMISSION ON
 OFFENDER REVIEW,

             Defendant.
 ______________________________________/

                                            COMPLAINT

        COMES NOW, Plaintiff, THELMARA MARKHAM, by and through her undersigned

 counsel, and sues the Defendant, FLORIDA COMMISSION ON OFFENDER REVIEW, and

 alleges as follows:


                                         INTRODUCTION

        1.      This is a proceeding for damages to redress the deprivation of rights secured to

 the Plaintiff by the Family and Medical Leave Act, 29 U.S.C. 2601-2654 (“FMLA”).

                                  JURISDICTION AND VENUE

        2.      The Court has jurisdiction over their controversy based upon the FMLA, and

 venue is proper as all acts described herein occurred within this judicial district.

                                              PARTIES

        3.      At all times material hereto, the Plaintiff was/is a citizen of the United States, sui

 juris, and an employee of the Defendant.




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         4.        At all times material hereto, the Plaintiff was an employee and member of a

 protected class within the meaning of the FMLA.

         5.        At all times material hereto, Defendant was a Florida Public Agency operating in

 this judicial district, was the employer or former employer of the Plaintiff, and is an employer as

 defined by the FMLA.

                       EXHAUSTION OF ADMINISTRATIVE REMEDIES

         6.        The Plaintiff has exhausted and fulfilled all conditions precedent to the institution

 of this action.

                                       STATEMENT OF FACTS

         7.        The Plaintiff was an employee for the Defendant since April of 2017.

         8.        Plaintiff was promoted to a supervisor role in August of 2018 due to positive

 reviews.

         9.        Unfortunately, Plaintiff began to suffer from stress and anxiety at work, resulting

 in her having a panic attack.

         10.       This prompted her to see a psychiatrist, who prescribed her medications on both

 June 10 and 18, 2019.

         11.       However, after doing research, Plaintiff learned for the first time about the

 FMLA, and had her doctor put in a request as of June 10, 2019 (the day of her panic attack)

 through July 8, 2019.

         12.       While home on leave, however, Plaintiff received a certified letter from the

 Defendant that when she returns back to work, she will be demoted back to her last position and

 reduced pay.




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          13.   Considering this had never been raised to her before, this was clearly due to her

 need for FMLA leave.

          14.   True to the Defendant’s word, upon her return to work, she was demoted.

                                          COUNT I
                                    FMLA INTERFERENCE

          15.   The Plaintiff incorporates by reference paragraphs 1-14 herein.

          16.   At all times material to this lawsuit, the Plaintiff was entitled to leave under the

 FMLA.

          17.   The Defendant unlawfully interfered with the Plaintiff’s exercise of her FMLA

 rights by failing to reinstate her position, or equivalent thereto, upon her return from FMLA

 leave.

          18.   As a direct and proximate result of the Defendant’s unlawful treatment, the

 Plaintiff has suffered damages and will continue to suffer irreparable injury and damages in the

 future, under the FMLA.

          19.   The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees,

 costs and expenses related to this litigation under the FMLA.

          WHEREFORE, the Plaintiff, THELMARA MARKHAM, requests that judgment be

 entered against the Defendant, FLORIDA COMMISSION ON OFFENDER REVIEW, for all

 damages recoverable under the FMLA, in addition to all litigation expenses and costs, including

 attorneys’ fees and any other lawful and equitable relief this Court deems to be just and proper.

                                             COUNT II

                                      FMLA RETALIATION

          20.   The Plaintiff incorporates by reference paragraphs 1-14 herein.

          21.   At all times material to this lawsuit, the Plaintiff was entitled to leave under the



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 FMLA.

        22.     As a result of this exercise of the FMLA, the Defendant intentionally, willfully

 and unlawfully retaliated against the Plaintiff, in violation of the FMLA.

        23.     That the Defendant’s decision to adversely affect the Plaintiff was both connected

 to, and in response to the Plaintiff’s FMLA coverage.

        24.     As a direct and proximate result of the Defendant’s unlawful treatment, the

 Plaintiff has suffered damages and will continue to suffer irreparable injury and damages in the

 future, under the FMLA.

        25.     The Plaintiff is entitled to an award of reasonable attorney's fees, expert fees,

 costs and expenses related to this litigation under the FMLA.

        WHEREFORE, the Plaintiff, THELMARA MARKHAM, requests that judgment be

 entered against the Defendant, FLORIDA COMMISSION ON OFFENDER REVIEW, for all

 damages recoverable under the FMLA, in addition to all litigation expenses and costs, including

 attorneys’ fees and any other lawful and equitable relief this Court deems to be just and proper.

                                   DEMAND FOR JURY TRIAL
    The Plaintiff demands a jury trial.
        Dated: August 9, 2019.                Respectfully submitted,

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